Case 1:17-mc-00151-LPS Document 288 Filed 06/25/21 Page 1 of 2 PageID #: 7653




June 25, 2021

VIA ELECTRONIC FILING

The Honorable Leonard P. Stark
U.S. District Court for the District of Delaware
844 North King Street
Wilmington, Delaware 19801

         Re: Crystallex International Corporation v. Bolivarian Republic of Venezuela et al.,
             C.A. No. 17-mc-151-LPS

Dear Chief Judge Stark:

Pursuant to this Court’s June 21, 2021 order, D.I. 284, Crystallex submits this letter brief
opposing the Bondholders’ objections, D.I. 286, to the Proposed Confidentiality Order
(“Proposed Order”) filed by the Special Master on June 16, 2021, D.I. 283-1. The
Bondholders’ demand—for their counsel to have “access to Confidential Information” that
the parties and ConocoPhillips may give the Special Master, D.I. 286, at 2—is incompatible
with the limited basis for the Bondholders’ intervention in this litigation, and with their
decision to not participate before the Special Master. To the extent the Bondholders read
the Proposed Order as “transmut[ing]” all “nonconfidential information” produced to the
Special Master “into Confidential Information,” id. at 3, Crystallex does not object to
clarifying that the parties must designate the documents they want protected. But the
Bondholders’ claim to unlimited disclosure of documents so designated is meritless.

As Crystallex explained in its May 19, 2021 letter, D.I. 268, the purpose of the current
Special Master proceedings is to vindicate Crystallex’s right to payment of its fully
adjudicated judgment against Venezuela. The Bondholders have no present enforceable
rights to the shares of PDVH or the proceeds from a sale. The Bondholders sought and
were granted leave to intervene based on their limited “interest … in seeking to prevent
attachment and execution of the PDVH shares,” D.I. 105, at 7; see also D.I. 154, at 12—
an interest that their former counsel conceded (in withdrawing from the representation)
was “complete[d]” once the Third Circuit affirmed Crystallex’s attachment of the PDVH
shares, D.I. 152, at 1-2. As the Advisory Notes to Federal Rule of Civil Procedure 24
recognize, that Rule allows this Court to “subject [intervenors] to appropriate conditions
or restrictions” in their participation in the litigation. Yet despite the Bondholders’ lack of
any legal interest in the remaining proceedings before this Court, Crystallex offered, D.I.
268, at 3, and this Court agreed, D.I. 275, at 4-5, that the Bondholders could participate in
proceedings before the Special Master if they agreed to do so on equal terms to the other
participants, i.e., by paying their share of the Special Master’s fees. Unwilling to pay the
price of admission, the Bondholders elected not to participate. D.I. 276.
Case 1:17-mc-00151-LPS Document 288 Filed 06/25/21 Page 2 of 2 PageID #: 7654

The Honorable Leonard P. Stark
June 25, 2021
Page 2

The Bondholders now seek to leverage their long-expired interest in this litigation into
unlimited access for their counsel to confidential information “including” documents “filed
with the Court.” D.I. 286, at 1-2. But much of this information—e.g., concerning
Crystallex’s partial collection of its judgment, D.I. 287, at 2-3 & n.2—will be of no
relevance to the Bondholders. And much of it may never even be filed with the Court. The
Bondholders cannot use the speculative prospect of district court filings that may never
occur, and in which they may have no interest, to backdoor their way into a backseat in the
Special Master process after having elected not to participate.

Nor are the Bondholders entitled categorically to all documents filed with the Court.
“[T]he right [to access] is not absolute,” Littlejohn v. Bic Corp., 851 F.2d 673, 678 (3d Cir.
1988), and the notion that the public at large should be able to inspect confidential business
information simply because it is filed in Court is preposterous. To the extent the
Bondholders can later establish a legitimate legal interest in specific court filings—rather
than speculation that they “may require access” in the future, D.I. 286, at 2—they are free
at that time to raise any meritorious objections to the “evidentiary basis” for sealing those
particular documents, id. at 3, or based on the First Amendment right of public access to
civil trials, id. at 4. Until then, the Proposed Order’s approach—directing the filing of
confidential information only under seal, with a redacted public version, D.I. 283-1, at 3—
best serves the parties’ interest in confidentiality while avoiding delay. The ordinary
process to object to the sealing of filings—as the Bondholders’ access-to-court cases
illustrate—is thus to move to unseal after the filing has been made. E.g., LEAP Sys., Inc.
v. MoneyTrax, Inc., 638 F.3d 216, 219-20 (3d Cir. 2011); Lugosch v. Pyramid Co. of
Onondaga, 435 F.3d 110, 112 (2d Cir. 2006). Requiring an individualized evidentiary
basis for confidentiality before any document can even be filed would grind progress to a
halt. There is no legal basis for saddling the parties with that cumbersome showing.

Rule 26(c) is not to the contrary. It governs motions for protective orders during discovery,
not proceedings before a Special Master. But to the extent relevant, it merely confirms the
Special Master’s approach, since courts applying Rule 26 may “construct a broad umbrella
protective order upon a threshold showing … of good cause,” subject to a document-by-
document review after the fact if particular sealed documents are challenged. In re
Avandia Mktg., Sales Pracs. & Prods. Liab. Litig., 924 F.3d 662, 671 n.5 (3d Cir. 2019).

Finally, to the extent the Bondholders object to sealing “the structure and terms of any
proposed sale of the attached shares of PDVH,” D.I. 286, at 2, their objection comes too
late. The Special Master Order already authorizes the Special Master to “initially file the
Proposed Sales Procedures Order under seal,” followed 7 days later by a redacted version,
if “necessary … to protect confidential information.” D.I. 277, at 4. The Bondholders had
a chance to object to the sealing of this information, D.I. 264, but they did not do so.

                                                      Respectfully submitted,
                                                      /s/ Travis S. Hunter
                                                      Travis S. Hunter (#5350)
cc: All Counsel of Record
